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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION
NATIONAL INSTITUTE OF FAMILY
AND LIFE ADVOCATES et al.                              )
                                              ,        )
                                  Plaintiff(s),        )
                                                       )       Case No. 3:23-cv-50279
v.                                                             Magistrate Judge /LVD$-HQVHQ
                                                       )
KWAME RAOUL, in his official                           )
capacity as Attorney General                           )
                                           ,           )
                               Defendant(s).           )

                              JOINT INITIAL STATUS REPORT

      The parties submit this joint initial status report in advance of the initial status hearing set
for October 23, 2023        .

         All parties who have appeared shall join in the filing of this initial status report. An
initial status report must still be filed even if filed unilaterally.

1.     Nature of the Case Including Legal Issues, Factual Issues, and Affirmative Defenses.

For claims by or against only some parties, identify which.
Plaintiffs are pro-life pregnancy centers and sidewalk counseling organizations. They
have sued the Attorney General of Illinois to prevent enforcement of Senate Bill 1909,
which amends the Consumer Fraud and Deceptive Practices Act to prohibit "limited
services pregnancy centers" from engaging in “deceptive practices” in performing
"pregnancy-related services." Plaintiffs bring claims arising under the free speech
clause, free exercise clause, and freedom of association component of the First
Amendment. Plaintiffs also bring claims arising under the equal protection, procedural
due process (vagueness), and substantive due process clauses of the Fourteenth
Amendment. Defendant intends to defend these claims and plaintiffs' standing.



2.     Parties and Service

Identify each individual plaintiff:

Nat'l Inst. of Fam. & Life Advocates                       Relevant Pregnancy Options Ctr.

Women’s Help Services                                      Pro-Life Action League

Rockford Family Initiative
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Identify each individual defendant and the status of service. If more space is needed, attach
additional pages to the end of this report.

                                             Date           Date            Answer Due or
Defendant                                    Served         Appeared        Date Answered
Kwame Raoul                                   7/27/23        8/2/23         9/8/23




For each defendant not served, describe the efforts to serve that defendant. If more space is
needed, attach additional pages to the end of this report.

Defendant                                    Efforts to Serve

None




List any potential party the defendant(s) may seek to add as a third-party defendant.

Third-Party Defendant                        Basis of Liability

None



3.     Status of Settlement Discussions and the Potential for Settlement

The parties have not discussed settlement and continue to evaluate the potential for
settlement.




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4.    Identify any Parallel Cases (including but not limited to possible MDL litigation,
underlying criminal proceedings, or related litigation).

Case Name                     Case #         Court          Nature of Proceeding

None




5.     Identify all Pending or Anticipated Motions

Motion (including docket number                                             Date Filed or
if already filed)                                                           Anticipated
Pls' Motion for Judgment on the Pleadings                                      11/13/23

Pls' Motion to Amend Complaint to add AG Personal Capacity                     10/28/23




6.     Discovery

During the initial status hearing the Court will likely set a deadline for submitting a proposed
case management order at a later date. To help guide that discussion, the parties shall provide
their best estimates formed after reasonable investigation and inquiry of the amount and scope of
discovery in response to the following questions:

The plaintiff(s) anticipate(s) taking about 
                                            8 depositions of fact witnesses.


For claims involving medical conditions, the plaintiff has about  treaters who are either
(check one) all located in or near the Rockford/Chicago areas, or includeV treaters located
outside the Rockford and Chicago areas such as                                                 .

The plaintiff(s) (check one) anticipate(s) using about 2    retained expert witnesses,
or do(es) not anticipate retaining expert witnesses.
                                             25
The defendant(s) anticipate(s) taking about  depositions of fact witnesses. That number does
not include any of the depositions the plaintiff(s) anticipate(s).
                                                          4 retained expert witnesses,
The defendant(s) (check one) anticipate(s) using about 
or Go(es) not anticipate retaining expert witnesses.

The parties anticipate that fact discovery (which includes treating physician depositions)
will take about 
                 18 months.




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7.        Consent to the Magistrate Judge

(Must check one)
                    &RQVLVWHQWZLWK/RFDO5XOHDll parties have appeared and consent to
                    KDYHthe Magistrate JudgeFRQGXFWDOOSURFHHGLQJVLQWKLVFDVHLQFOXGLQJ
                    WULDOWKHHQWU\RIDILQDOMXGJPHQWDQGDOOSRVWWULDOSURFHHGLQJV

                    Not all parties will consent to proceed before the Magistrate Judge.



PLAINTIFF(S)                                     DEFENDANT(S)
NATIONAL INSTITUTE OF FAMILY                      KWAME RAOUL, in his official capacity
AND LIFE ADVOCATES et al.,                        as Attorney General of the State of
                                                  Illinois,


By:                                              By:
/s/ Peter Breen (with permission)                 /s/ Darren Kinkead
Thomas More Society                               Office of the Attorney General
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pbreen@thomasmoresociety.org                      Darren.Kinkead@ilag.gov




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